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UNITED STATES DIST ‘

SOUTHERN DISTRICT OF NEW YORK

    

 

 

PETER KALTMAN, lndividually And On
Behalf Of All Others Sirnilarly Situated, Civil Action No. 14-

Plaintiff, CLASS ACTION CO

vs. JURY TRIAL ])EM

PETROLEO BRASILEIRO S.A. -
PETROBRAS,

 

 

Defendant.

 

Plaintiff Peter Kaltrnan (“Plaintift”), individually and on behalf of all other persons
similarly situated, by his undersigned attorneys, alleges the following based upon personal
knowledge as to Plaintift’s own acts, and upon information and belief as to all other matters
Plaintiff’s allegations are based on the investigation conducted by Plaintiff’s undersigned

attorneys jointly with the Brazilian law tirrn, Almeida Advogado, which included, among other

 

things: (a) a review and analysis ofml§etroleo Brasileiro S.A. - Petrobras (“Petrobras” or _the
“Company”) public filings with the United States Securities and Exchange Commission
(°‘SEC”); (b) a review and analysis of press releases, public statements and other publicly
available information disseminated by, or concerning, Petrobras and related parties; and (c) a
review and analysis of Petrobras’s press conferences, analyst conference calls, conferences,
presentations and corporate website.
l. SUMMARY OF THE ACTION

l. This is a federal securities class action on behalf of a class consisting of all
persons or entities who purchased Arnerican Depositary Shares (“ADSS”) of Petrobras on a
United States exchange, from May 20, 2010 through Novernber 21, 20l4, inclusive (the “Class

Period”).

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2. Petrobras explores for, and produces, oil and natural gas. The Company refines,
markets, and supplies oil productsl Petrobras operates oil tankers, distribution pipelines, marine,
river and lake terminals, thermal power plants, fertilizer plants and petrochemical units.

3. During the Class Period, Defendant made materially false and misleading
statements by misrepresenting facts and failing to disclose a multi-year, multi-billion dollar
money-laundering and bribery scheme. Specifically, Petrobras’s senior executives inflated the
value of the Company’s construction contracts for the sole purpose of receiving kickbacks from
companies such as Odebrecht S.A, (“Odebrecht”) and SBM Offshore NV (“SBM”) that Were
awarded the contracts illegally These illegal acts caused the Company to overstate its property,
plant and equipment line item on its balance sheet because the overstated amounts paid on
inflated third party contracts Were carried as assets on the balance sheet.

4. In addition, this illegal bribery and kickback scheme further violated

representations Petrobras made to its investors cgncer_ning the Commpanmy;s_own anti-corr_uption

 

and anti-bribery practices under its Code of Ethics. During the Class Period, Petrobras filed
reports, fonns, and other documents with the SEC that contained false and misleading statements
regarding the effectiveness of Petrobras’s internal controls and procedures Petrobras
consistently represented that the “Cornpany identified no change in its internal controls over
financial reporting.”

5. Further, during the Class Period, the Company’s Chief Executive Officers, Jose
Sergio Gabrielli de Azevedo (‘°Azevedo”) and Maria das Gracas Silva Foster (“Foster”), and its
Chief Financial Officer_, acting on behalf of Petrobras, signed certifications pursuant to the
Sarbanes~Oxley Act of 2002. Those certifications contained false and misleading representations

that Petrobras had disclosed “[a]ll significant deficiencies and material Weal<_nesses in the design

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or operation of internal control over financial reporting.”

6. Foster was tire Company's Chief Gas and Power Ofiicer from September 21, 2007
through lanuary 2012. Since February 2012, Foster has been the Company’s Chief Executive
Officer. Since July 2012, Foster has been the Company’s Chief International Officer. Foster has
been a member of the Company‘s Board of Directors since February 2012.

7. According to various media reports, Petrobras’s top executives, including Paulo
Roberto Costa (“Costa”) and Renato de Souza Duque (“Duque”), Were principal executives in
the money laundering and bribery scheme that has been estimated to total 10 billion Brazilian
reais or approximately $4.4 billion. Costa was a member of Petrobras’s senior management as
the Company’s Chief Downstrearn Officer from May l4, 2004 through April 2012. As the Chief
Downstream Officer, Costa was the top executive in charge of Petrobras’s refining division As
such, Costa vvas intimately aware and had knowledge of the needs of the Company’s refineries,
including the state of current and future contracts Duque was also a member of Petrobras’s
senior management as the Company’s Chief Services Officer from January 3l, 2003 through
February 20]2. As the Chief Services Officer, Duque Was in charge of Petrobras’s engineering
and services division and worked closely with the Company’s refining division Duque’s
engineering division was co-responsible for Abreu e Lima contracts

8. Costa and Duque were senior officers of Petrobras and their knowledge and active
participation in the scheme are attributable to Petrobras. Costa and Duque had the power to bind
Petrobras to the inflated contracts, and as senior officers of Petrobras, they routinely
recommended such contracts to Petrobras’s executive board for approval. According to Costa’s
testimony, which was released by a Brazilian federal court, Costa admitted that for, at least,

seven years, he and other Petrobras executives accepted bribes “from companies to whom

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Petrobras awarded inflated construction contracts” and “then used the money to bribe politicians
through intermediaries to guarantee they would vote in line with the ruling party while enriching
themselves.”l Odebrecht is one of those contractors that has been specifically named by Costa.
Odebrecht’s offices were subsequently searched, and documents lwere seized that concerned
Odebrecht grossly overbilling Petrobras in an $835 million contract SBM, another contractor of
Petrobras, has admitted to bribing individuals related to Petrobras in an amount in excess of 3139
million, and has been fined by Dutch authorities for improper payments to sales agents in several
countries including Brazil from 2007 through 201 l.

9. Besides Petrobras’s top executives, the illegal bribery and kickback scheme also
involved politicians and a group of, at least, 16 contractors who formed a cartel that assured that
its members of the cartel would win Petrobras’s major contracts including ones related to an oil
refinery called c‘Pasadena” located in Texas and the Abreu e Lima refinery (“RNEST”) located in
Pernarnbuco, Brazil. According to Brazilian prosecutors and the Brazilian F-ederal Police, Costa
granted contracts to these “Brazilian construction companies that systemically inflated their costs
by as much as 20%.”2 After winning the contracts, “the construction companies kicked back up
to 3% of a contract°s total value in the form of bribes to Mr. Costa, Brazilian politicians and
money launderers”3 frorn the profits received from the inflated contracts

10. As of November 14, 2014, the Brazilian Federal Police, under Operation “Car
Wash”, has arrested at least 24 suspects in connection with the money laundering and bribery

scheme, including Alberto Youssef (“Youssef"), a black market money launderer. Youssef was

 

l Sabrina Valle and Juan Pablo Spinetto, Petrobras ‘Human Bomb ' Revelations Fz`xate Brnzil as
Vofe Looms, BLOOMBERG, Oct. 20, 2014.

2 Paul Kiernan, Petrobras Corruption Scandal Draws Attentr`on of U.S. Investr`gators, WALL
STREBT JOUR_NAL, Nov. 12, 2014.

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considered to be the scheme operator and has been promised of reduced sentences by Brazilian
prosecutors in exchange for his cooperation Youssef testified that the bribery scheme was
rampant throughout Petrobras and its subsidiaries and that each subsidiary’s board split the
bribery money with its respective politicians4

ll. 'i`hrough a series of revelations including the arrests of Costa and Duque and
admission that the Company may have to adjust its historical financial statements to recognize
the difference in overpricing its construction contracts, the closing price of Petrobras’s ADSS
have declined from a $19.38 per ADS on September 5, 20l4 to 310.50 per ADS on Novcmber
24, 2014, representing a decline of $8.88 per A_DS or 46%.

II. JURISDICTION AND VENUE

12. The claims asserted herein arise under and pursuant to Section' lO(b) of the
Excl“iange Act (15 U.S.C. §§ 78j(b)) and SEC Rule 10b-5 promulgated thereunder (17 C.F.R. §
240.1'0b-5).

13. This Court has jurisdiction over the subject matter of this action pursuant to
Section 27 of the Exchange Act (15 U.S.C. § 78aa) because the District Courts of the United
States have exclusive jurisdiction over civil actions brought to enforce liabilities under the
Exchange Act. In addition, this case arises under the laws of the United States and this Court has
federal question jurisdiction pursuant to 28 U.S.C. § 1331.

14. Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15
U.S.C. § 78aa and 28 U.S.C. § l39l(b) because Petrobras transacts business in this District and
has agents in this District. Among other things, Petrobras’s `ADSs are listed on the NYSE, which
is located within this District, and Petrobras has dan office at 570 Lexington Avenue, 43“j Floor,

New York; NY 10022.

 

4 There is Brt'bery in Every Board ofPetrobf'as, Says Yozissef UOL,`Oct. 10, 2014. '
5 .

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15. Petrobras is not immune from suit in the United States under the Foreign
Sovereign Immunities Act (“FSIA”)5 as Petrobras engages in commercial activity, both in the
United States and elsewhere having a direct effect in the United States See 28 U.S.C. §
1605(a)(2).

16.' s Petrobras has continuous.and systematic contacts with the United States and is
doing.business within-'Texas, New York and elsewhere in the United States. Petrobras produces
oil and gas with refinery operations in the United StatesA Petrobras owns Pasadena Refining
System lnc.` ("PRSI"), headquartered in Pasadena, 'l`exas and 100% of PRSl's related trading
company - PRSI Trading, LLC. PRSI Trading, LLC is a Domestic Limited Liability Company
located in Texas.

l7. Petrobras has sufficient minimum contacts within New York to make the exercise
of jurisdiction over it by the federal courts in New York consistent with traditional notions of fair
play and substantial justicel Defendant Petrobras transacts business has an agent, and/or is
found within New York, and the unlawful conduct alleged in this complaint had effects in New
York.

18. In connection with the acts, conduct and other'wrongs alleged in this Complaint,
Petrobras,` directly or indirectly, used the means and instrumentalities of interstate commerce,
including but not limited to, the United lStates mail, interstate telephone communications and the
facilities of the national securities exchanges '

III. THE'PARTIES
19. Plaintiff Peter Kaltman, a resident of New York, purchased Petrobras’s ADSs, in

reliance on Defendant’s materially false and misleading statements and omissions of material

 

5 The FSIA is codified at Title 28, United States Code, §§ 1330, 1332, l3_91(f), l44l(d`), 1602-
1611. ' ` ` ' '

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facts and the integrity of the market for Petrobras’s ADSS at artificially inflated prices during the
Class Period, and was damaged when the truth about Petrobras, that was misrepresented and
omitted during the Class Period, was revealed to the .market. The certification of‘Peter l(altman,
with a listing of his transactions in Petrobras’s ADSs during the Class Period, is annexed hereto.

20.' ' Petrobras is an integrated oil and gas company that is the largest corporation in
Brazil, in terms of revenue The Company operates nearly all of the refining capacity in B_razil.
Pis of December- 31,. 2013, the Brazilian federal government owned 28.6,7%t cf Petrobras
outstanding capital stock and 50.26% of its common shares and is the controlling shareholder of
Petrobras Petrobras is incorporated in Brazil and its ADSS are listed on the NYSE under the
symbol “PBR.” The Company also operates in l7 other countries, including the United States
where it produces oil and gas and has refining operations Petrobras has an office at 570
lexington Avenue;' 43rd Floor, New Yo`rk, NY 10022. Petrobras America lnc. is located at
10350 Richrnond Avenue, Suite 1400, l-Iouston, Texas 77042.

rv. 'CLA'ss A'cTroN ALLEGATIONS

21. Plaintiff brings this action as a class action on behalf of a class consisting of all
persons who purchased Petrobras’s AD'Ss on a United States exchange during the Class Period
(May 20, 2010 through Novernber 21, 2014), and who were damaged thereby (the “Class”).

22.- `This action is brought pursuant'to Federal Rules of Civil Procedure 23(a) and
astb)(s).

" 23.' " 'l`he `mernbers lof theClass.are so numerous that joinder of all members is
impreeiieeblef white iii'e"'e>me't number er Cle`ee members re unimewn re Pieimirr arms time
and can only be'ascertained`through appropriate discovery, Plaintiff believes that there are
thousands'of` members in the proposed Class During the Class Period, approximately 768

million `li'-e-trbbras’s"ADSs` were outstanding.' The proposed Class may be identified from records

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maintained by Petrobras or its transfer agent and may be notified of the pendency of this action
by mail using a form of notice similar to that customarily used in securities class actions

24.' f’laintiff"s claims are typical`of the claims of the members of the Class 4Plaintiff
purchased Petrobras’s ‘ADSS on a United States exchange during the Class Period and was
damaged by Defendant"s violations of the Exchang`e Act. `All'mem`bers` of the Class are similarly
affected by liefenda`nt’s wrongful conduct. n ‘ n

l -`25'.` i"laintiff' will fairly and adequately protect the interests of the members of the

Class land hits retained counsel competent and experienced in class and securities litigation
Plaintiff has no interests antagonistic to, or in conflict with, the Class lie seeks to represent

26. Comrnon questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class.' Among the
questions oflaw and fact common to the Class are:

a. whether Sectiori 10(b) the Exchange Act, and SEC Rule nlOb~S
promulgated thereunder, were violated by Defendant’s acts as alleged
herein;

b. 'whether Petrobras’s filings with the SEC, including its quarter-end and
year-end reports, the documents referenced`therein, and/or subsequent
public statements by Defendant and senior executives on behalf of
Petrobras were materially false or`misleading;

c. whether Petrobras acted with scienter in" misrepresenting and/or

omitting to state material facts;

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d. whether the market price of Petrobras’s ADSs was artificially inflated
due to the material misrepresentations and/or non-disclosures
complained of herein; and

e. to what extent Plaintiff and members of the Class have sustained
damages and the proper measure of damages-,.

27. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable Furthermore, as
the damages suffered by individual Class members may be relatively small, the expense and
burden of individual litigation make it impossible for members of the Class to individually
redress the wrongs done to them. There will be no difficulty in the management of this action as
a class action.

V. t MATERIALLY FALSE-AND MISLEADING
STATEMENTS ISSUED DURING THE CLASS PERIOD

Form 20~F for Year Ended December 31, 2009

28. On May 20, 2010, the Company filed its annual report for the year ended
December 3 l, 2009 on a Forrn 20-F with the SEC (the “2009 20-F”). The 2009 20~F was signed
by lose Sergio Gabrielli de Azevedo (“Azevedo”), the Company’s then CEO, and Almir
Guilherme Barbassa (“"Barbassa”)., the Company’s Chief Financial Officer and Chief lnvestor
Relations Officer.l The_Forrn 20~F stated the Company’s financial results and financial position.
In addition, the 2009 Form 20-F contained signed certifications pursuant to the Sarbanes-Oxley
Act of 2002 (“SOX”) by Azevedo and Barbassa. The SOX certifications stated that the financial
information contained in the 2009 20-F was accurate and disclosed any material changes to the
Company’s internal control over financial reporting Specifically, the certifications represented

that the 2009 20-F did “n`ot contain any untrue statement of a material fact or omit to state a

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material fact necessary to make the statements made, in light of` the circumstances under which
such statements were.ma_de, not misleading with respect to_the period covered by this report..”
The certifications also stated that Azevedo and Barbassa have disclosed “[a]ll significant
deficiencies and material weaknesses in the design or operation of internal control over financial
reporting which are reasonably likely to adversely affect the Company’s ability t_o recordz
process_, summarize and report financial information” and “[a]ny fraud,; whether‘or__not material,
that involves management or other employees who have a significant role in the Company’s
internal control over financial reporting.” Azevedo and Barbassa’s statements were attributable
to the Company.

29. ln addition, the 2009 20-F stated that the management of the “Company identified
" no`chai'i ge in its internal control over financial reporting during thel fiscal year endedeecemb'er
31, -2009, met bee meterieiiy"erreeieei er le reeeeee'eiy likely re materiain erred its intemel
control over financial reporting.”

3'0. the 20'0'9l 20-1="meemeiered rhe"i>ermbt~ee cede er smiee (“cede")‘, eveiieeie'ee
the Company’s corporate website and stated that the Co`de “is applicable to all employees the
board of executive officers and the board of directo`rs."' The 2'009`2'0-13 represented that in"2008,
then Company’s lexecutive officers “further developed our ethics nmanagement through the
creation of the Petrobras Ethics Commissiori” “to promote compliance with ethical principles.”

`fil`."1 These statements were materially misleading because the money laundering and
bribery scheme that was ongoing in 2009 was in blatant violation"of the Code, which expressly
stated that the'Coropany’`s`e`n.iployees,l executive officers and member`s"of the': board of directors
were to "‘reftise any"'corrupt"arid' bribery practices keeping formal procedures for control and

consequences of any transgressions.”

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32. The 2009 20~F also represented that the Company’s assets under property, plant
and equipment (“PP&E”) were worth $l36.2 billion at the end of 2009. Further, the Form 2009
20`-"F;represelited`:that"iinder'th`e` Company’s PP&E, “costs incurred in connection with the
exploration, def-feloprne`nt and'prcdu`ction `of oil and gas are recorded in accordance with the
‘§u¢aesstnl erron`g"méthod,'”- wal~ch'requlred trial costs incul~`rea"“ln connection with the drilling
of developmental wells and facilities in proved"r"e`s`erve production areas and successful
ei`<ploratory"iwells `be icapitaliz"ed.” iTh‘ese statements wei‘e materially false and misleading
because the 'Com`pany failed'to disclose that the value of the Company’s PP&E Was adversely
impacted by illegal activities that inflated the value of numerous construction contracts related to .
Petrobras’s refineries and operations
ii the 200`§20-15-‘ also aath than
Odcbiiecht:, Petrobras, Petroquisa and Braskem executed an agreement, seeking to
reglllate.( their commercial and corporate relationship in the Petrochemical
Complex of the State of Rio de Janeiro (COMPERJ) and irl the Petrochemical
Cor_n.plex of Suape (Suape Complex)....These transactions are in alignment with
, the interests of Odebrecht and Petrobras to integrate their petrochemical
_ businesses in Braskem.
_ \34._ .rThis statement was false and misleading because Petrobras failed to disclose to
, the market lthat_ the Company’s executives, including Costa and .Duque, were inflating
construction contracts and awarding them to a cartel of selected construction_lcompanies?
including Qdebrecht and SBM, after receiving significant_bribes. s
Forln 20-F fo\-‘V_Y_ear Ended December 31, 2010
3§. On_ May 2_6_,2011,__ the__ Company filed an annual report for the year ended
December 3_1? 2010 on a Form 20~F with the S.EC (the_ “._2010 20-F"_), which was signed by

Azeved,o and:`:B_arbassa, and stated the Company’s financial results and financialposition. The

2010 20_-F ccntai:ncd' signed certifications pursuant to SOX_by A_ze_vedo and;l§_’>arbassa, stating

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that the financial information contained in the Form 20-F was accurate and disclosed any
material changes to the Company’s internal control over financial reporting Specifically, the
certifications represented that the 2010 20~F did “not contain any' untrue statement of`a material
fact or 'ornit`to state a material fact'necessary to`rnake the "'statements made, in light of the
circumstancc`siunde`r' which:`such"`staterri`erits' were made, not misleading with respect to the period
covered by this report.`” The certifications also stated that Azcve`do and“Barbassahave disclosed
“[a]ll significant deficiencies and material weaknesses in the design,or operation of"inteinal
control"over financial `reporiing which are reasonably likely to adversely affect thc Cloinpany’s
ability to record, process, summarize and report financial information” and “[a]ny fraud, whether
or not material,‘that involves management or other employees who have a significant role in the
; Conipany"s iiitcrnal control over financial repolting.” Thesc` statements by Aaevedo and
Barbassa were att'li'ibutable"fo`the Company. "
36. ln addition, the 2010 20-F stated` that the management of the “Colnpany identified
:;., no change in its internal control over financial reporting during the fiscal year ended "December
31, 'zt)la, that 'l'lcc' materially cffcctctl cr is rcaccccbly likely tc "fcatcftclly affect itc 'lct'cmal
contro]\ovcr financial reportin'g.” 1

37.."'l`he 2010'20~1j incorporated llthe Code, available on ihe}Co-nip'any’s colporate
website and stated that the Cod`e “is applicable to all employees, and the members of the board of
executive officcrs and `tlie"boar'd'of'dir:ec`tor`s."d The 2010 20-F"represe`nted that`in` 2008, the
Cornpanyi's-` executive officers c"‘furthe`r developed iour'ethics` management through the creation of

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the Petrobras Ethics' Coiiimission to promote compliance withethical pr'inciples.”
38'..’ Thesc'sta`tements were materially misleading because the money laundering and

bribery scheme ongoing in 2010 was in violation of`the'Code`, which stated that the`Cornpany’s

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employees, executive officers and members of the board of directors were to “refuse any corrupt
and bribery practices, keeping formal procedures for control and consequences of any
tfaiislgres'sions.’;’: a v

l 39 The 2010 20 F represented that the Company‘ ‘invested a total of U. S $6, 681
million in our refineries and its PP&E amounted to $2l8. 6 billion at the end of 2010. Further,
the Forn'i 201-li represented that under the Company’ s PP&E, “costs incurred in connection with
the exploration, development and production of oil and gas are recorded ln accordance with the
‘successful tefforts" method,” where""costs` are accumulated on a field-by~:fieldbasis with certain

exploratory expenditures and exploratory dry holes being expensed as incurred.’° These

. statements were materially false and misleading because the Company failed to disclose that the
.~..-.v'alue of the 'éompally’s PP&E and investments in refineries were adi-ferser impacted by illegal

.l- activities that inflated the value of numerous construction contracts related to Petrobras’s

; refineries and operations

40. The Company failed to disclose to the market that the Company’s senior
executives `v.-'ho`;had the ability to bind the Company to multi-billio'n dollar contracts were active
participants in the money laundering hand bribery scheme Specifically, senior executives such as
Costaand ljuque were signing off on the inflated construction contracts and recommending them
to Petrobras’s executive boards for approval 'ln es'sence, through their"senior positions in the
Com`pany,' Cesta and Duque had the authority to award the'inflated. construction c'ontracte to a l
select group-lof construction companies including 'Odebr`echti‘aft'er receiving significant bribee,-
and as a reenlt: the Company falsely represented that l°etrol`:-i‘as’s"transaction` with Odebrecht "f`are
i`n`alig`nrnent with theinterests'odeeb1'echt and Petrobras.”’

Fe'l~m' 211-ii fee veel~ nnded neeember 31, 2011

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41. On April 2, 2012, the Company filed an annual report for the year ended
Decernber 31, 2011 on a Forrn 20~F with the SEC (the “2011 20-F”), which was signed by
Barb_assa and Poster, and stated the Company’s financial results and financial position_. In
addition, the 20l1 20-F7 contained signedcertificationslpursuant to__ SQX_ by Barbassa ancl_l_lioster;4
stating that the financial information contained in the 2011 20-F_ was_accurate and disclosed any
material changes _:tc__)l the.Cornp_any-’s internal control over financial reporting.'_ : Speci_fically, the
certifications 1_`rep_resentecl that the201l 20~F did “not contain any untrue statement of a material
fact or omit‘to state a material fact necessary to make the statements made, in light of the

circumstances under which such statements Were made, not misleading with respect to the period

, covered by this report.” The certifications also stated that Barbassa and Foster have disclosed
“[a]lll significant deficiencies and material weaknesses in the design or operation of internal
~; control over financial reporting which are reasonably likely to adversely affect the Company’s

ability to record, process, summarize and report financial information” and “[a]ny fraud, whether

l or not material, that involves management or other employees who have a» significant role in the

Com'pany’s internal control over financial reporting.” These certifications are attributable to the
Company.

42 In addition, the 20l1 20-F stated that the management of the "‘Company identified
no change in its internal control over financial reporting during the fiscal year ended Decernber
31', 2011, that has materially affected'or is reasonably likely to materially affect its'internal
control'over financial reporting:"’

43. The-2011 2043-incorporated the Code, available on the Company’s corporate
website and stated that the Cod`e "‘is applicable to'all employees, and`the members of the board'of

executive officers-land the board of directors11 The`2011 20-'F represented that in 2008, the

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Company’s executive officers “further developed our ethics management through the creation of

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the Petrobras Ethics Commission to promote compliance with ethical principles.”
44." These' statements weren materially false vand misleading because the money
laundering and bribery scheme that was ongoing in 2011 was in violation of the'Code, which
stated thatthe'€'lornpany’s employees, executive officers and members of the board of directors
Were to “tefuse- any corrupt and bribery practices, keeping formal procedures for control and
consequences' of any`transgressions.”
45. ."l`he 201 1 20-F represented that the C-ornpany’s PP&E amounted toy $132.5l billion
. at the end of 20 ll and the Company “invested a total of U.S. $5,618.75 million in our refineries,
of which U.S. 31,208.8'9 million was invested for hydrctreating units to improve the quality of
our diesel and`g`asoline and U.S. $1,039.19 million fo`r‘col'<z`ng' fruits to convert heavy oil into
t lighter prod=icts.” The Company represented that the ‘most important tangible assets are wells,
vplatf’)i'ns, refining facilities, pipelines, vessels and other transportation assets, and power
‘tl-plant:~_:.” Al'so, the Foi'rn "20'»1*` represented that under the Company’s Pl’&'E, “costs incurred in
- connection iifith'th`e'. exploration; development and production ?of oil and gas are accounted for inl
_-,, accordance-with the successful efforts method” which required “that dcapit`aliiaation` of costs »
incurred in cenfiection withthe development cf proved reserve areas and successful exploratory
wells ” Fuither the 2011 20- F represented, unlike prior Form 20- Fs, that PP&E is mea shred “at
the cost of arqutsihon or construction which represents the costs incurred for bringing the asset
to the condition 'for'.operat'ion, nadjusted:`during. hyperihflationary periods,l less accumulated
depreciation andinfpairmentlosses.” w
' P¢i'd'.:' 'These statements were:"rnat:eriall'y false and rmi`sleadingl-'|because"the Company

feiled"te `discl'bee"tha`t 'the"value‘of the Cdrnpany’s `PP&E` and linv`est'inents"in refineries were

C'ase~1:14-=cv-09662:-.JSR .Document.l "F‘i,|eo| 1,2/08/14..'.Page.16-ot=39

adversely impacted by illegal activities that inflated the value of numerous construction contracts
related to Petrobras’s refineries and operations
Forrn 20- F for Year Er_lded December 31 2012 l ‘ d n 1
42 Qn April 22 2013, the Company filed an annual report for the year ended
Decernber 31, 2012 on a Form 20- F with the SEC (the “2012 20 F”) which Was signed by
Balbassa and _F_oster, and stated the Company s financial results and financial position in
additicn, the 2012 2_0~1j` contained signedlcerti_fications'pursuant tor!_S`_OX_ by -Barbass__a and Foster,
and stated that the financial information contained in the horm.ZOl-F was accurate and disclosed
any material changes to the Company’s internal control over financial reporting -- Specifically,
. the certifications represented that the 2012 20-F did “not contain any untrue statement of a
.=.‘:b material facts-or omit to state a material fact necessary to make thestatements-marley in light of
:»;_.<»`the le'ii~curnstanees undei"which such statements were made, not misleading with respect to the
rtperio:d covered by this report;” The certifications also stated that Barbassa and Foster have
a disclosed “"[alll significant deficiencies and material weaknesses in the design or operation of
-».internal control over financialreporting which are reasonably likely to adversely affect the
1'.~ Company'f's ability"to record, process, summarize and report financial informations and “[a]ny
fraud, whether or not material,'that involves management or othef employees l"vvho have a
significant role in tlie`Company’s internal control over financial reporting.” 4-
as. " `n{a'adnion, the 2012 santana fha the wanagéhlem “iia§ nor assessed any
change in itsiiriternal control over fin'ancial`repor'ting during the fiscal year ended December 31,
2012 that has materially affected or is reasonably likely fo 'rnateri`ally:affeet its `infernal Jlcontrol

ovef finanoial reporting.”

16

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49. 4"l`he 2012 20~F incorporated the Code, available on the Company’s corporate

Website and stated that the Code “is applicable to all employees, executive officers and the board

of directors.“‘-' XlFl`he 2012 20~F repi'esented'that 111 2003, the Company"s executive officers “further

developedz bur etltics:`man'agemerit through the creation lof zthe“l)etr‘obras Ethies Coniniission”

\vhi_ch is“resoonsible for"promo`tinglcorporate compliance-unruh ethical principles'._” .` l 1

50 'Ihese statements vvere materially false and'misleading because the money
lauri.cieri`ngll and bribery scheme that was ongoing in 2012 Was in violation of the Code, _Which
stated that the Company’s employees, executive officers and members of the board of directors

-Were to “refuse any corrupt and bribery practices, keeping formal procedures for control and

consequences of any transgressions.”

51". The 2012 20‘-1'~“ represented that the company’s PP&E alabama 10 szci.'s`binion
stat thet_end of 2012 and the Company “invested a total of U.S'. $3,435 million in our re`fitieries, of
z’i'M'hich .`U.S~.` 32,531> million\vas invested for hydrotreating units to improve the quality of our
lxi,,.diese_l; and gasoline and'U'.»‘_-§l 3419 million for colcing units to'cbnv'ei't heavy‘oil into lighter

products”"l`heCornpany also represented that the “rnost important tangible assets are wells,

platforms,-"refining_facil.it'ies,` pipelines, vessels and otlier" transportation assets, and power
plants.” j m
n 52 `; lhurti'ier, the 2012 20-'1? represented that PP&E""are measured at the cost to:"acquire

or construct,-'including all costs necessary to bring the asset'to 'vvo'rl'<'ing condition for its intended
use,‘ ladjustled';during hypei‘inflationary periods, as Well as by the present value of the estimated
cost of dismantlirig"arid reinovin'g;'fhe assef andrestoring the site land ieduced by acettrnulated
depreciation and impairment losses.’i` 'Alse, ihe 2012 `2!0-1*` represented that “costs incurred in

comiect`io'n with the exploration`,'appraisal, development and production of oil and ' gas 'ar'e '

'@17-'

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accounted for using the successful efforts method of accounting”‘ which includes the “[c]osts
related to the construetion,l installation and completion of infrastructure facilities, such as
platforms,' pi peline`s`-`,-'~drilling lof development 'Wells' and"other related costs -incurred~in'co-nnection-
With the`developrnent of proved reserve~'areas and successful exploratory niells are'cap`i~talized
Within -property;- plant and equipment.’.’ .

531"~ These"'statements-'Were ifalse and misleading because the `Coni"pany- failed to
disclose that the-true.-'value of the Company’-s P-P&E and investments in- r'efineries-niere adversely
impacted hy`ille'gal activities that inflated the value of numerous construction contracts telated"to '
Petrobras’s refineries and operations
Form ZO-F far Year.' Ended December 31, 20131

2 54. v di OnApi'i.l 36,=2(')'1'¢-1, after the market closed, the Company filed an annuallreport
t\fo'r: the §,fear"entled l)cceinher 31,'"2013 on a Form 20'-F with the SEC"C'the “20'13 ZCI)~F”)? vvhich
r.\.~'v\ias signed "'hy‘ l?>arl)`assal and `Foster,` and reiterated the Company’sl previously announced
iifinancial festilts and financial position.' In addition,- the 20l3 120'-13 contained signed certiiications

pursuant to SOX- by Barbassa.and Foster, stating that the financial information contained in the
2013 ZO-F 'was accurate and disclosed any material changes tci-the Company’s internal control
over tinancial;repc‘r'ting. Specifically, the certifications repiesented that the lior`m '20--¥ did"“not
contain any tintrue statement of a material factor omit to state a material fact neces`sai'yil'.o make
the Sta.temenis Amade, in light of the circumstances under which such statements were made', not
ln'ii'sl'e:adin`ir:i,l W'itli' ress"`pect"to thel period‘coverelcl'hy this report.” The certifications also stated that
Foster and Bai~l)assa have disclosed"-‘[a]ll`significant deficiencies'an`d material 'v»ieal{nesses in the
design oi""operationiof"i.nter'nal control overtinancial `re}:)ortin,<_i,Il which are reasonablyv likely to

ad,ver§éiy"'affe`¢r ritc“'ot`rm;£arry’s abiliry" to recora, process ` `Srrrrrrrrarrz@"anri report "aa'rirrr~,iél

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cas-e‘.l:l¢i-@v.roaee,z-JSR comment 1 .Filed -12_/08/1-4. ._Page__ls 01439_ ,

information” and “[a]ny fraud= Whether or not material, that involves management or other
employees Who have a significant role in the Company’s internal control over financial
reporting.”

55. w in addition, the 2013 20- F stated that the management “has not identified any
change in its internal control over financial reporting during the fiscal year ended December 31,
2013, that has-materially affected or is reasonably likely to materially affect its internal control
overlfina`nclal reportan ” l j l n 7 , l h
l 56. w The 2013 20- F incorporated the Code available on the Company’ s corporate

Website and stated that the Code “is applicable to our workforce, executive offices and the board
of directors." The 2012 20-F represented that in 2008, the Company’s executive officers “further .
-r.,developed onr‘ethics management through the creation of the Petrobras Ethi`cs Cornmission”
-,t,which is"‘respionsible for promoting corporate compliance With ethical principles.”

il 57. These statements Were materially false and misleading because the money
tlaundering and bribery scheme that Was`ongoing 111`2013 Was in violation of-the Code, which
-,.stated that the Company’s employees, executive officers and members of the heard of directors
-,Were to cfrefu`se any corrupt and bribery practices, keeping formal procedures for control and
l consequences of any transgressions.”

1 58`. The 2013 20~F represented that the Company’s PP&E amounted to $227.9 billion
ar the erie stems and tire ooirrpariy severed a torn oru.s. s`3,162` mahan in car rearr@rrer,, er
\vhich U.S. $2",512- million Was invested for hydrotreating units to improve thequality of our
diesel and gasoline land U'.S. 3174 million for col<ing units to convert heavy oil into lighter

products.” 'l`he Company also represented that the c"most important tangible assets are wells,

19

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platforms, refining facilities, pipelines, vessels and other transportation assets, power plants as
Well as fertilizersand biodiesels plants.” l
59,_ _ Further, the 2013 20-F represented that PP&E “are measured at the cost to acquire
or construct including all costs necessary to bring the asset to Worl<ing conditio_n_for its intended
use, adjusted'_during hyperinflationary periods, as v~_lell as by the present value of the estimated
cost of dismantling and removing the asset and restoring the site and-reduced by accumulated
depreciation and impairment losses.” Also, the 2013 20-F represented that “costs incurred in
connection with the exploration, appraisal, development and production of oil and gas are
accounted for using the successful efforts method of accounting” Which includes the “[c]osts
relatedf.,to the construction, installation and completion of infrastructure facilities,- such as
.platforms, piptlines, drilling of development -vi).ells`and other related costs inoui'red` in connection
\ivith:ithe development oprroved reserve areas and successful exploratory Wells are capitalized
Within property, plant and eoilipment.”
inns 60. -'Thes'e'stateinents were false and misleading because the ;Compan`y failed"' to
disclose that the true value of the Company’s P`P&E and investments 'in'refin'eries vvere' adversely
impacted by illegal activities that inflated`the value of numerous construeti'on contracts related'to ‘
‘ --Petrobras;s refineries and operations-

`61.' ""The 2013 20"-;F"r_epresented'that the Company had established ad hoc internal

commissions "to"e'valuate our compliance inith`applicable regulations'l"nnd-thel"'scope dof'eacih
internal commission is"'e'stabli‘shed' by our `manag'ernent.""'~" Sig'nifi'ctintly':5Fl ther-2013 "20.'1“"
represented that on “March 31, l2014, out-internal commission established to evaluate bribery
aiisgar`irm§ rstr'rit`riit`g“sBi/i offshore Co“rrrrrrrréd that a farris rio theme residence wrapped streit

all"<`=,`gationsL”“'dl " l ’ ` `

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The Congressional Heari_ng

62. On Maly 27, 2014, fifteen days before Foster testified on lone ll_, 2014 before a
congressional investigation committee,__- the ,"Cornissao" l’arrlamentarl_vydeh_,l-ln_‘quérito_ (‘|‘_CP_I”)_,
Petrobras receivedwa;letter from SBMwammg the company thatl\_lethei'land_:_s_Publ_ic_Mini_stry
was inquiring into bribery payments by SBb/l to Petrobras _s employees Notwithsta11d1ng that
knowledge l`oster Efalsely represented to the CPI and to lthe investing public in her testimony on
J11ne ll. §01_4 that no irregularities were discovered, even though “s_he knew about several
evidences 0f1rregular1t1es prior to her testimony on June ll, 20]4.

63. The Statements referenced in il‘ll 28-30; 32~33', 35-37; 39; 41-43; 45; 47~49; 51~52;
54-56;. 58~59; and 61~62 above were materially false and/or misleading because Petrobras
misrepresented and"l"aile'd td"disclose the following adverse facts, which were known to Petrobras
and its senior `exe.cutives, including Costa and D`uque,"`or recklessly`dis`reg'ardedbythem,
including ih`at: (i) the Company was overcharging its'prope`rty, plants"and eduipment on its
balance Asheet by overpricing contracts to `certain" companies relating "t`o its retineries and
1operations,and`.'accepting kickbacks from construetion companies approved for those contracts;
(ii) the Company-was receiving lrnulti~l:)illion dollar bribes from third party contractors to secure
lcontracts item Petrobras; (iii) the Company wasin violation of itsown Code ot` Eihics as"its`
employees and erecutives were routinely accepting bribes from‘certain construction companies;
(iv) thc`Coinpany`is internal controls were ineffective and deticient§ and (vj the Company was
aware of"ii*regtilai:ities in connection with bribes from third'par`ty contractors`as lFoster had

lmovil'edgéiiit~:'Netitanana’s rubric sanitary was'inqai'ring iam sribe£y' payments lay star/110

.4\.

 

6 Oppo`sz'i‘ion i’”drty i)ém`cil'zrls; Gr'c`tcci poster is lnrmeiciiale l'l’itll`clli'nw Fr`diii `Pei‘ro.l)`rds ’sl}i"asfdencj.`),
_FOLHA DE D`. P_AULO, NOV. 20, 2014.
7 Id. 4 l

..21:

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Petrobras"s employees
VI. THE TRUTH SLOWLY EMERGES

in 64 4 l3y September 2014 certain facts with respect to the corruption at Petrobras
became publicly known by virtue of Costa s arrest and a Brazilian criminal investigation
Indeed, on September 7, 2014, after the market closed Bloomberg News reported that
mforniation\ vas being leaked ‘to local media from a police investigation into alleged kickbacks ,

_ involving [Pctrobras] in an attempt to alter the results of the October national election ”3 The

article cites a Brazilian magazine Veja which reported that :Costa revealed l“a'(f;_,,’rc')up of .
politicians, including members and allies of Rousseff`s Workers’ Party” had accepted bribes
linked ton Petrobras contracts
65 Dnthe news that the bribes paid to Brazilian politicians had been linked to
l§gtrob!ras"contrae_ts‘:“)"'P|etr<`)b'res’s ADSS declined 31.03 per ADS or more than 5%, to close at
$,18.35 ;per AD§ on September 8, 201'4_, '. d
,5;§.`1,;66. l ` 011 "S'eptember 8;"'2"014, after then market 'closed, Petrobras acknowledged the
corru'ption:a.t the'Company by issuing aj statement concerning Cost'a'S`arrest and the federal
otiminal investigation Specifically, Petrobras stated:in relevant part,` stated: t

n lt is iri-:the"best interests of the company" s management to see the completion ofall

_ ongoing investigati.ons Any irregular acts that may have been committed by a x

` person or group of people_, whethei o`r not they are company employees do not"

_lre];)re\_s_e_r_rf the'con_duct_ of the_Petrobras{11_1_stit_uti_on and its workforce 4

_ 67_ _On:'thi__s_'statement by the Company, acknowledging the corruption, Petrobras’s

ADSS declined.$_O.S§___perADS o_r nearly 3_%,__ tolclose at $1783 per AD§ on September 9, 2_;014.

8 _ ‘\._,er_$ept;_e._r_nb_e_r_ 30, 2014, after the market closed,_‘Bloom.b:erg News published an

 

8 Karen Eeu\r_v_ens and _Ar_nra_ldo. Galvao, Roussejj‘Ally Snys Petrobras Seandal Seeks to Deraz'l
131 aztl VOte,BLOOl\/IBERG Sept. 7, 2014.

9 Dimitra Del`otis, Petrobras Declines 2 7% Q_n B)azil, Brz`b_e_rv Al.legatr`on_s_, BAR_RO_N S, Sept
8, 2014

"‘22

ease`-¥1":.121"-¢\)-09662;-§1$R-~ oocumem'l- File@l 12/03:/-1~4. .Page‘-zs ores 1

article stating that Duque "sta`mped and signed at least 6.6 billion Bi‘azilian reais ($2.7 billion) in
contracts for the Abreu _e Lirna refinery and recommended to Petrobras s executive board to
approve the over billed contracts in late 2009 m Fr_irther_, Costa lied revealed to prosecutors that
“misappropriation of funds.`_als_o existed 1n other 4lcl__1v1s1nn_s_1r_1_c11|1ding: the one l3nquehead1=*d’El _ _
69. Qn this v_r_iew_s?_‘.Pe)tr_o_`l,)_r‘as’s_ ADSs declined $0.89 per ADS or more than 6_%,;to
close ar__si 330 par:Aps:_Op_ocrqba-.1,:'2014_. y n
` __70. (311 Qctober_ 9 2014, after the market closed, the Brazilian_ federal court released

Costa's.tes'tiriiony;.` Costa"testified that kickbacks were paid to members of the Workers' Party,

1 -tlie political party of the President of Brazil, Dilma Rousseff (“Ronsseft"’). According to an "

article by The Walf Srreer Jonrnal, Costa “alleged that a certain percentage of contracts at the
refining uniti`o§l"l)etrobras were to go to members of the Workers'" P`a`rty.”"z
1311 '1;:;:71. n -'l`he release of Costa’s testimony by the Bra'zilian 'federal court as independently
confirmed by 'i`thtreet13 caused Petrobras s ADSs to deciine $1. 15 per A]33 or nearly 7%,
closing at $l§. 62 per A133 on October 10 2014.

72. .`~-`On October 1'6','2014,'be1”0re the market opened., the Federal Corirt cf Acccunt's
(“_'l;(`ill,lii)A published 'a"rep`ort concluding that Petrobras will spend 60 percent more than originally

budget-rda one `0"1’ 111.'1¢1111@11@3'.14 spacin`caii§; the ch amended 111111>@11-0111~113 win pay 1216

 

m S'abrina Valle' and David Billei', Probed Petrobras Co`m‘mcts "Reveai Sthéi‘ "Signature,
BLOOMBERG_, 3ep 30 2014

ll 151 - _ _ . 1 . ._ .
12 Will Co_r_mors Ex- Petrobras Executive Says Kic_kbacks W_er_e Pa_ic_t' 1.‘0 finlng Paity s Ojj`cials
WALL' STREET JOURNAL, Oct 9, 2014. "

13 Andrew Meola, How W 111 Petrobras (PBR) Stock Rea_ct_ fo Fo)mei Exccz{!ii#e s Allegatmns in
Court? THESTR_EET, Oct. 10, 2014, available at

http: //www. thestreet. corn/story/l2909885/1/how- -wi_ll-petrobras- -pbr- -stock-react-to- _t`orrner-
executives- -ailegations-in court htinl ' '

14 411na Edgerton and Sabiina Valle, Petrobras Accused of Reckles.mess by Aacz’i:‘ Cour t on
Overrims,BlOOl\/[BERG,Oct.16,2014. t

23 v

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billion to complete the Compiexo Petroquimico do Rio de Janeiro -(“Comperj”) complex.15
Comperj‘ is an integrated refining and petrochemical complex that broke ground in 2008, began
. construction in 2010 and is scheduled to start up on 2015. The TCU found °‘discrepancies
. between diffe1ent government agencies as Well as Within diffeient Petrobras divisions, over
investments ;ne.e`ded fo.:`r Comperj. ”]6 Moreover, the TCU concluded that Petrobras s
rriana»gement.'- hadbeen"“‘i‘eckless’-‘.'With irregulari-ti`es‘in\the omission l'of-`technic'al analyse's,
overpaying i"or contracts and a lack of effective controls ”" `~'On'e member "of the TCU
commented that it Was “investigating how the structure of Petrobras ca11 undertake such a huge '
project in such a sloppy way.”18 The TCU found “irregularities in three contracts: two that Were
overpaid_and one that Was signed in an ‘emergency’ time~frame that didn’t allow other
companies td bid;”‘g

. 73. 4 On' the release of the TCU’s rcp'ort, Petrobras’s ADSS declined $`1.05 per ADS or
nearly 7%,"10"€10$€ at $14.50 per ADS 011 October 16, 2014.

7 474.-. On S‘atui'day, October i8, 2014, during a news conference during the day,
Ro11sse`i‘"t` admitted that there Was' embezzlement of public moneyl in Petrobras and that the
Brazili'an `goverrunent Would seek reimbursement of any-money illegally-diverted from the
Company.

35. il Asl a result of the admission by Rousset`f cf embezzlement‘iri the `Company,
Petrobras’s A;:DSS' decli.ned'$(}.% per A'DS'or more than 6%, to lclose`a‘t' $14.`00'per'ADS' `on

Octo`ber` 2f1 2014.

 

15 fay
16 Id.
17 Id.
'BId.
1914

24

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76. On October 2(), -2014, after the market closed, Bloomberg News published a
detailed article about the money laundering and bribery scheme The article noted that Costa had
admitted to investigators through his testimony`on Octobe`r 8,-`-'2014,' that"for,*at least, se`ven~years,'
he and other Petrobras officials accepted bribes “from companies to Who`m Petrobras awarded
inflated construction contracts” and .“then used the money to bribe politicians through
intermediaries to guarantee they would vote in line With the ruling party while enriching

themselves”20

The article further stated that Costa had admitted that he personally received tens
of millions of dollars and called the bribes from the companies a “‘tllree percent political
adjustment.”’ Id. Costa named several construction companies that was part of the\cartel
including Odebrecht and Camargo Correa S.A.z'

,¢i 7:!. flie- article continued that,` as part of the criminal case'against Costa,'prcsecutors
en‘ip_lia"`.»iiz`ed‘-.thatl there Was :"evi"den'ce of fraud, oveipricing and li_icltbaclrs" in,: atle'ast,"`sei-'en
contracts, including one contract for a 3.4 billion Braiilian lreais coking` unit and another contract
foi"”&__§;;'?».lQ l'»iliion Braziliaiilreais hydro-treaterand`re.latec`lzunits.22 The contractfbr'the'cdkin"g
uniti,_'vv'asc'ited by prosecutors as evidence of oveipricing and over-billing cf as m'ucl.r as fla-6
million l§ra'z"'ilian reais`.~z.3 lndeed, according to federal court dobum‘eiits"' re\}'-i`e"tved bjcBlcor-nberg'
llfews, Costaand`f)udue"signed off onl`th;e'colting-`uhit arid{li'jfd'ro`-teat"<`::r`clo'nt"rac:tsll and then sent
them toPetrobras’s'e)<ec'uliv'ej'board'.Wher`e they Were app1':6"\1"1=,<1.24 l\/loreover`, in response to

Costa implicating Diique' in"t'he 'bril:`)ei“y';`~investigallon relatedto l-€N'I'E§T,-Duque responded that

 

20 Sabrir_ia Valle and Juan Pablo Spineno Pe;mb,m Huma,,, Bomb Rev,, lazion§ Fl.xm leZi-l- gs
Vote Loc`rn`s, BLOOMBERG, Oct. 20, 2014. -' ~~ f ~
21 Id

22 Id

23 Id.

241(1. ' "'"'

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the “i:`inal`decisien on all contracts is made collectively by directors and the CEO.”?'S`

78. The article also noted that Costa had implicated Yousset` for creating fake import
companies-ltdl-ahn;der"the`k'ic'l'<ha‘ck's.26 lCo`risequent`ly", Yous`sef'had revealed toiprosecutors‘and `
police 1111113 'ovvn testimony “-hont'he launderedmoney-overseas`fr`om'overpric`ed Petrobras
contracts andhovv he distributed money from construction companies, in cash, to politicians.”27

79 `As a result of the revelations 111 the article by Bloomberg Ne11’s, Petrobras’ s ADSs =
declined $0 Si) per A`DS or nearly 6%, to close at $13. 20 per ADS on October 21, 2014.

80. On October 27, 20l~’l- before the market opened the Company revealed that it had
set up Internal investigative Committees “to examine evidence or facts perpetrated against the
company, as well as to assist administrative measures and resulting procedures.”

1 -,;j ` 481 '~" On the disclosure of the ncrea'tion';o'f Internal lnvestigati\/e :Com'rnittees., Petrobras’s
Aoss accused s1".’71 pertains 01 nearly `14%, 1-`0 close 11 sr 116 1161 nos 6a'octeber'17,"`2014."

" 111 82 l On; §aturday,` l\lo`vember l-,' 20‘14,. the Braailian newspap~er, O Eslta'do" de Sao
1521111':0, rephi'tedthat Petrobras’s auditor, l°`ticeWaterhouseCoopers (“PWC”)`had`de'clinedito sign
cti on the Company"s`thirdquarter financial results ih light ot` the mone.y`~laul`idering and bribery
investigations ` Specitically, vaC refused to sign' off on the: tinancial_:"res'ults" ii)r one `of
Petrobras’s subsidiaries, `Transpetro- as they were signed by'Sergio Machado‘i“l\/iachado”), the '
Petrobras executive implicated ber-os_ta. vaC urged the Company"tt:')`.'t'alie action to dismiss
- l`\/Iachado."` Oh Noveniber 3`, ZOlti,` Macliado agreed`to take a""3 l -"'day'" unpaid leave "o'l" absence to -
curb P‘}vC’s protest l 1

33. The lnevvls" that `P'w`C refused to sign off orr the Comp`a.ny’:s third quarter financial

 

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26 111
27 1a

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results, as independently confirmed by a news articlezg, caused Petrobras’s ADSs to decline
30.44 per ADS_ or nearly 4%, to close at Sl 1.26 per ADS on Monday, Novernber 3, 2014.

l84._ On_` pSunday,:N-ov_ernber 9, 20.1__4, »Th_e Fz'nancial Times reported that the U..S
D_epartment_ of Justice (“DC_)I”) had opened_a criminal investigation-on v,_»'hether Petrobras o_r_ its
employees vvj_ere paid bribes and that the SEC had opened a civil investigation into the rnatter.29
Speciiical_ly, The Fint_m_cial Timas reported-that the DOJ and lthe SE_C vv_ereinvestigating,u{hether
Petrobras or its employees, middlemen or contractors had violated the Foreign Corrupt Practices
nct.” "

85. 011 the reporting by various media outlets3' that the DO.lr and SEC had opened
separate investigations into the bribery scandal, Petrobras’s ADSs declined $O.ZS per ADS or
1151 10¢1$§£`11'1'1'0,52';»@1` nos ali itovemb@i 10', 20'14."

111 .8'6.=-1§ jinOn:l':\lovember-|i§,` 20 l'4,' atter‘the market closed:,"`the 'Coinpan}' issued-a press
release acknowledging that if the allegations in Costa’s stestimony Were true, they ‘could
potentiallyi:,,.iiiipacl l"tlie (joinpany’s financial st`atements.i’ As a resh.lt;"the Companyrdelaye`d
releasing thet`inancialstatements for then third quarter 2014 as it needs-additional `tirne'to: "

‘(ij‘d'@spiy vahiiy'z'enie investigated in ceursé;“`(in arthritis risinpr aside im“ "

the allegations of “O_pe_r_acao L_ava Jato;” and (iii) evaluate the need of 1mpioving

go\'re nance contlol, the Company isn ’t ready to publish its balance sheet

- regarding the third quarter of 2014 on this date.
'87_. _O_n l_\:lcvembe_r l_`4, __20l4,` it Waslrep_lorted:in various _r_nedia,outletsduring__the_ day,

that the _B_raz_._il_i_an police issued 27 arrest \1\_1a1~_rants andl arrested lS, individuals including D_uqu_e

 

23 Johanria' Berihe`tt, Brdzil i/i/itlzéis Frdm Petrobras Ra`z"e Hike BARRON S, Nov.'i _, 2014.

29 Kara Scannell and Joe Leahy,_US1 T'urns Up Hea_t With Cr.t`mi_nal 11111esngat1'01'1 115er F_etrobras
FlN. TIMES. Nov. 9, 2014

30 ]d, , _ 4 _ 4 _ _ . ,_ . , .

31 Arnariila` Sciiiavo, Petrobras (PBR) " Stock Low`er` Toddj) 'Am'i"al ' U.S. ' Invésfigation
THESTREET, Nov. lO, 2014, available at http: //wxv\v thestreet. corn/storv/ 12947524/ l/petrobra.i-
pbr- -stocl< loiver-toda'v- amid-us 1nvest1gatlonh1.rnl.' '

"‘_27

' . case 1:14¥1:_\/-_09662-,133 ,D~ocu_m_em,ll _File_d 1_2103/111_ tiF>.ag'a,z_,sh_c`_)f_'ss__'

and Erton Medeiros Fonseca (“Fonseca”), a director of engineering and infrastructure at Galvao
Engenha'ria S.A. 32 Also, one ot` Petrobras’s contractors, Odebrecht, confirmed that “its offices in
Rio de laneno had been searched and documents seized ”33

88 On the news of the arrests, Petrob1as s Ai)Ss declined $0. 25 per ADS or nearly

5% to close at $9. 95 per 141D,‘3 on Novernber 14,2014. l 1 n l : l n

n 2 8-_9;- ,~-,;On Novernbe`r 17_, 2014,- before the market opened, the Companj;1 had a
conference call to discuss its thiid quarter 2(ll4 guidance Diiring the call Foster noted that if
Costa’ s accusations are true they could potentially affect and “may lead to possible adjustment
1 in the financial statements of”. Petrobras l F_oster revealed that the Company had been
implementing “governance and management processes between 2012 and 2014.” Accordingly,
the Company’s boai'd of directoi‘s approved the creation of a compliance depai'trnent'.`

9{).'1,14{` "During;the Q&A ses'sion, an analysf asked assuming the ‘iaidctisatidns ot` sili;"`cha'rge
or overcharge afc"cont`irmed," ivhat kind of accounting adjustments Would need to be made in
the G;ompan}-"s-fi11:111cial statements and vvhat main line items n'ould be impacted assuming
.“‘BRL"S billion4 vvere overpriced in the construction of RNBST.” Barbassa replied that the

adjustments Would be to lth"e`_ fair price of PP&E. If'the allegations are`true, Barbassa said there
‘ would be an "‘\“overpayrnent, paym`ent`above vvhat Would' be a fair value for va good or service In
this casa assisting Shouia be removed"a@m PP&E 1111@11@1`11,11111`1§`51'@11 value a`n"d` sham 11 bé" takes
to the results.”l .ln determining fair value, Barbassa elaborated "thst the l}C`ornpany"ilvould need to '
deduct from `PP&E “the amount that con d be linked to bribery of any sort, any accepted p1ice

that vvould have been charged

 

35 Steph eh';ljiserihaniiner, ;Petrb'ib`r‘_as Eicstrector 'Arrési.‘eh'_.` `iS`h`ciras S¢nkA'ma’ Graff .Slc`ahh'al,
REUTERS. \lQV. 14 2014_.
33 lrd " _ .

231 .

"Cas`é 1:14-i:v¥09662-JSR Documem 1 Filed 12/03/14 Page 29 of 39

1 9]. ' Later in the day, Foster confirmed that SBM bribed Petrobras employees to Win
contracts Foster stated that due to the “overwhelming evidence of noncomplianoe,” SBM “will
rio longer 155 eligible 10 bia for further berman with "Peirabras`.”” " M{S`reovér,‘ Fési"er"adinittéd
die foiiowin'g§' ‘iwe '[§v@r`e]"infoaaea iii the pa`sr"rhaivvé had `idéaaii"éci rio iii#r'eguiar'iiiés’ai this
niatter. 1"Aiiter`ai_“i°e\‘r»r Weeks`or` months `l1 vva§ inforined that,thér'e Were' indeed bribes"to eni`}§lo`}"ee's
or ` former l`ei'tipldve‘es`_ `oi'“"lzetrobra§l” lose Formigli, Petrobras’§ Head of Exploration and
Produc_tion, also revealed the following k l

n The CEO ieceived a"c:all anda letter lvvhere SBMsaid it_'h:adl been toldrof"credit'sto|` l il
accounts in Switzerland by Pubiic Prosecution in the Netherlands. This is
overwhelming evidence outright n it’s the company’s own admission that it was

aware of [the br_ibery].35

92.1_., eis a result of_ the Company_’s conference call and revelation of SBM bribing
Petrobras’s_etnployees, Petrobras’s ADSS declined $0.62 per ADS or 6%, to close at $9.33 per
ADS on Novei'nber 17, 2014._

93. _; Since the arrests5 Brazilian Federal P_olice_ had obtained a confession from
Fonseca thatl -“he paid roughly 4 million Brazilian reais (Sl.§ million) in bribes in order to Win
contracts __froin _l:‘etrob_ras."’36 At least sorne of those contracts included projects at Petrobras’s
Rl_\TEST. As `part ot` Fonseca’s confession, he revealed to the Brazilian Federal Police that he met
§osta and a_'congressrnan in a meeting in 2010. The congressman told Fonseca “that t_o be able

to win contracts, he \voii_ld_ have to pay.”37 Another contractor _Who Was arrested on _November

 

3élvlsab`ella Vi'ci'ra, ioetrobi'fis CEO Aclmz'-ts SBM O]jfw'iore Bribed Of¢cials, .AGENCIA BRASIL,
Nov. 18, 20l4_.

35 jay

36 Paul Kiernan Executive Says He Paid Brz'bes to Win Petrobras Confrjacrs, WAL_L STR_EET
JOURNAL,Nov 18, 2014.

37 Id.

29

' Case 1:14-cV-09662-.]SR Document 1 Filed 12/08/14 Page 30 of 39

l4, 2014 had confessed that “he paid 819 million and 823 million in bribes to Renato Duque.”?’g

_94_. l On November 20, 2014, it was reported in various media outlets that a request
Was made to the Brazilian Prosecutor s Oftice in the Fede1al District and the Pub]ic Prosecutor at
the Federal llodit Court for the immediate dismissal of Foster as the CEO of Petrobras and to
. establish a criminal inquiry into the matter. According to a news article, the request argued that
Foster did not testify truthfully liersel_fvvhen she testified at a_ hearing on lunel l l, 2014 before a ~
congressionalinvestigation committee looking into the scandal, the Comissao Parlarnentar de
lnquérito.a’g" 'Specit`ically.' Foster testiiled falsely that Petrobraszdidn’t`rec"eive 'any'vlarning from
Netherlancl,’s authorities concerning bribery payments-by SBM to Petrobras‘s employees40

951 011 November 24, 2014, a similar article in a Brazilian newspaper reported that
at the l.lune':~ll, 2lll¢l`hearing," Fostery¢as"asl§ed il Petrobras-1hadl"i.`c;lenl;il`ied" any e\li'dence of
payments-iamounting lo8l39 millionto'Petrobi'as employees or-exedutives by `SBM.“-' iiosl.er
aris;v'v;ei'ed#'=ilizi.i"ihe"C"lonipan'y.’s internal committee "‘did dnotlidentify,:'\vithrnits activities and
scope, payii,iietits oil-any benefits to any"ol ouremploy'ee's'.”“'42 Next,`lF-ost'er lvas.asl§ed 1111-hether
Petrobrasalreadv l»;ne\vabo`ut`lthe suspicion-of bribery to Petrobras":'ernployees"since 2012.44-3
Fostei answered “l do not confirm this infonnatiori. ”44
»‘.=;=" '96.` :` On)lhe news of Foster’s testimony to the Comissao l?`arlameritar de`l`nquerito,

Petrobras’s illsz declined 8'0.`34 per `ADS or 3%, to close-at`$ll).'§l) per AD`S on l\ldver'riber-`:Zil`,`

 

33 Isabella V.ieira, Pet_10_i)1as CEQ Admz`ts SBM Ojfrhorc Bribed O_f]?ciais,_ AGEN(`ll-\ BRASIL,
Nov 18, 2014.

39 Opposir_ion P.arty Dem_clna".s Graca F_o_sl‘e1'.:s immediate W1Il1111 nw F1011__1 Pei.'¢o_bms' s
i:residency, FOLHA DE S PA'ULO, Nov. 20, 2lll4. '

4 id. .

41 Priscilla l\lle`ncles, illembél‘ Complaz`n`.s _lgainsf Grace Foster for Pe1]1,11,1, GLOBO Nov. 26,
2_014._-_- - , . .

42 lai ‘

43 153

44 er."

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2014.
VII. .SCIE|NTER ALLEGATIONS .

4 97. Costa Wlio Was a senior executive at the Company has been arrested on corruption
charges; and placed iii house arrest :peiidirig the criminal in lestigations by Biazilian authorities
for his active participation in the money laundering and bribery scheme Liltewise`,""anot-h`er

-`Seni-'or‘ executive, ‘:Duque 'has.:~'been- -.arrested ron. similar...corru_p'tion"charges-for.his. active

L":_ ll‘ -`iA

participation in the money laundering and bribery scheme Costa and Duque Were senior officers
.sot` Petrobras Their knowledge of the fraud is attiibutable to the Company for purposes of
.i_assessiiig the Compaiiy’s scienter. _ Significantly, Foster Was fully aware by May 27, 2014 that
SBM officials Were bribing employees of Petrobras to guarantee Winning certain contracts
Foster’s knowledge preceded her lurie ll, 2014 testimony to the CPI in Which Fostei‘ testified
(fal: sely) that llet:iobias did not receive any Warnirig or notice fiorn authorities in the Netheila;nds
that they were investigating bribery allegations with respect to SBM.

vi"n'. qus'CAUSATioN `

98.1"4 lDurin`g4 the Class Period, as detailed l“herei‘n,'D'efend::i"nt engaged `in `a"sch`enie to
deceive ltl‘i`e 'i:’i;i':'ar`l<et; vand`a.'ciiurse"of conduct that artificially 1iriflatetl`the"'prices of Petrobras’s
A.DSS,` 'Which`operated as a fraud or deceit oii"Ciass Pefiod purchasers lof:liq’etr`obras’snii.\`DSs by ._
failing ie"aisciosé,"ana misrepresenting `ihe ‘ad_\`gers`@ faeis`deiaiied heiéiii.` "Wi-iea oefendini’s _
prior misrepresentations and fraudulent`c`oiidiict ,were"discl`osed, or ln‘i"atc`i:'riaii`)z`ed,`M‘and""oe:canie ,
apparentio"-ii'ie"r'i`iaii<a; iiiepn¢e"@frationales `Aoss“‘reii 'pi~e`ciaiiatis'iy. ` As'"a result er then
purchaseseitr-"éirabras"s'Aoss’au`ring" the class Pe'iioii,' Piaina`ff ana tire 'Oiii'e:i' ciasa'm@mbeis
suffered eeo'ni"`,\'ii"iiic“ios"s, i.e'., ld`anié`i"ges, under the federal securities`laws.`

1 ':'-99.` ""` :By failing-to disclose 'to investors the adverse facts detailed herein, Defendant
presented--a`iiiii-sleading picture of Petrobras’s business and prospects, financial positioii, and

.3-1-' , `-.,)`._'.

l " Ca‘se"I`:'lA-ev:oseez-JSR"" locument`l -Filed 12/03'/14 Peth 32 of`s`s-

results of operations Defendant’s false and misleading statements caused Petrobra is-A-l_-)Sste~
trade at._art_i`_ft_cial`ly inflated leuelslthroughout the Class Peried_. '._ `

100 _r :]"he-l__dlecline_in Value of 'Pe_tr_olbras’s ADS_s _\zyas a direct result of_t_he_'_nature and
extent of l)e_lflendant’sfraud finallyl beingI revealed to investors and the market l'l`he timing and
magnitude _o__f the price decline of Petrobras’s ADSs`neglates_ any inference that the loss suffered
by_; Plau'tttff1 li..a_‘nd" the other_'_ Class members \‘_Jas caused by changed market conditions,
-. macroeco_non:tic_` 01;'_ industry 'factors" or_ Company-specific facts unrelated to Defendantis
fraudulent conduct. The economic loss, i.e., damages, suffered by Plaintiff and the other Class

members was a direct result of Defendant’s fraudulent scheme and caused the subsequent

significant decline in the value of Petrobras’s ADSs When Defendant’s prior misrepresentations

.`t_ " 4"`. _ -l;," ',;

and other i"raudulent conduct 'v`vere revealedl id " " l '
Ix‘. ' rN'/att;t>LrCABri;r'rY 0F ~s"t‘.A_TU'roRY s'AF'E HARBOR

lOl,,;»_z t 'l`he s‘tatuto"`ry: safe harbol"_- provided for forward-l`oc')l<injg"l statements-under certain
_circur`nstan,§_cl`:'s "u`nder the Private" Secu"r`ities‘ Liti§ation Reforrn Act`of 1995 dees not apply to any
.et‘ the 'anegea`ity raise et misleading statements eet'ferth‘i`tt'thia Ceetpiaiat.. "r'he statements
alleg:e'd te`be lfalst=, oi"misleading herein `telate to then-eicisting.facts and conditions with respect
tel P`ett-'ebtaa E`e'hieh were net fel`iy,~tainy, er adequately dieeteaed._ le additiaa, te the extent
certain of the "statements alleged to`be false 'or' misleading`may be characterized as't’orward-¢

looking they ui`ere:'not tide:qu`at'e`lyl identified as`?°forward-lookirig statementsl" when l`r`nade,` and

there Wer`e `n`ci adequ.ate, meaningful catitid`nai"y statements identifying relevant'itni§ortaiit factorsf t

that could"`c'atise actual results"to` diffel": materially from those in the purportedly forward~lool;ing

_ statements'-""~'Cau`ti'cna`rjf'" language-must 'trtitli"ftll].yk `addi"'e‘ssi"specific risks, must exhaust the t

capacity af the pesitive"fa`tse~ statements ito mislead investors`; and`rn`ust di"selo`se,` asia"l:§‘#efendan`t
failed te ne "_t_t'et‘e,‘thea existing aavet~ae taete`, 'Aitete`a'ti<teiy," te the"et'<teat that the atat“a‘tety safe

32

 

ease:i“:.i.¢t}.c_v-_aneze_,-JS.R- comments elect tz,/Qs/,i¢ty negates 0_139 .

liaerr_is;.i.n-teiided~,§to~moih~dces,maappl»y_to_any~_fon\vasd~l-oel<-i-n~gmstatements»apleaded-herei-n,
Defendant is liable for those false forward-looking statements because at the time each of those
forward- looking statements Was made, Defendant had actual knowledge that the particular
forward led-lining statement Was-rnaterially false or misleading In addition to the extent any of t
the statements'set forth above Were accurate When made ‘ they became inaccurate or misleading
because of '~'ubsequent events and 'Defendant failed to: update those statements lWliich later
t became 1r.iac`citirate..` ’ n n . ‘ d 4 l

ii - l02. 'lhe statutory safeharbor provided forfolward-lookmg statements dndercertain '
circumstances moreover, does not apply to false statements or material omissions of existing
facts

1{13."`°' ' letteiitteaany,"tit'e aaie‘ltatbet~ is a'tatttte`tay’ t‘aae`piteab‘le te the false "tli`i'aleaaiag,

and litcomplete aiini.l`al firi'ancial'statemeii‘ts of Petrobras since they nier'e reportedly:pr'epared in
accordance iyith generally acceptedacc:ounti`n'g principles

X. APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD 6N THE
MAR__KET

104 Plainttl`f is entitled to a presumption of ielian_ce because the claims asserted herein
against Defe:ndant is predicated, in pai't, upon false statements o'f material fact and/or tl1e'.
omission to state material facts.necessary‘_in order'to make the'_statements‘inade,' in the light;df
the circumstances under which they_ \_Nere made,‘ not misle.a_di_ng,l that Defend_ant liad_ad_uty-to
disclose

lGS. litigale _relevant‘times,._m_arket for Petrobras’sAD`Ss___Was.`a_niefiicient market_. that
promptlyldigj;sted__curren_t information iit/ith respect to the Company from all publicly~available
sources and reflected such information in the prices of the Company’s ADSs. v

10_6.; `_ _T_he market for_Pet_robras’s ADS_s_ was efficient be_cause, inter alia,_,throughout the

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- Class Period:
a..l' Petrobras?.s` ADSS= met-the requirements -for='.listing,-'~`and were listed."an'd~._ actively
traded don the.NYSE, a-highly.~ef-.iicient and.automated-.=market;'-F-=..'= ‘ ‘
b. During the Class Periocl, there were approximately 768 million Petrobras’s ADSs
outstanding-millions "of. shares of \Petrobras’s ADSS were traded on the ».N'YSE;
t ‘_ .-'with:-t»rad-ing in' excess of a million -shares' a' day~ on the vast majority..of days
-'"'-duriiig""the Class“Period',.l
c. .As a regulated"~iss'uer,` Petrobras'tiled periodic public reports with the SEC and the
NYSE;
d. Petrobras regularly communicated With public investors via established market
' communication inechanisms, including regular disseminations of press releases
ssi l l01:1' the national circuits of` major newswire services and other wide-ranging
sgt public disolosures, such as quarterly la conference oalls with investors,
oommunicatioris`with the'iii1ancial press and other similar reporting services, as
well as presentations at various industry and market symposia'and conferences;
alia
. ~. .g- . e. Seoui‘ities analysts i`ollowed and published research reports regarding Petrobras
that were publicly "available to investors.‘ `Each analyst wrote reports about 1
Petrobras that were distributed to the sales force and available to customers of
their respective brokerage firms These. reports were publicly:available and
entered the public marketplace."'
107. rhm`u'gh¢ar rtie` Class isaacs Petrobras wa§"cbn§ist¢aiiy renewed by tile insist

including securities analysts a`S` well as the business pres`s."'Th'e` market relies upon the

‘--34`

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herein.
llZ. 'l`hroughout the Class Period, Petrobras, directly or indirectly, engaged in a
l common plan, scheme and contlnurng course of conduct desc1ibed herein, pu1 suant to Which it

knowmgiy or recklessly engaged 111 acts, transactions practices and a course of business which

1-
-.'.:. l

operated as a fraud upon Plaiiitiff and the other members of the Class; made various false

§` .". ,.`
" " ~.'\.'

statements of materiai facts and omitted to state material facts necessary in order to make the
statements made, in the light of the circumstances under which they Were made, not misleading
- to s'P'l°ai`ntiff 'aliil'thé'other'membe`rs"of tli'e`Class; 'a'nd employed manipulative `or deceptive devices
and contrivances in connection with the purchase and sale of Petrobras’s ADSS.

l l3. The purpose and effect of Petrobras’s plan, scheme and course of conduct were to
artificially .\in'l'late the price of Petrobras’s,ADSs and to artificially maintain the market price of
Petrobras’ s -ADSS'. " '

l l¢l.;.f.` Pelrobrasliad actual knowledge of the material omissionsaandlor the falsity lof the
material statements set forth'above; and intended to deceive"f’laintiff and the other members of
the ‘Ci`ass,`-'§r? 311 the_`ai_témaavé,"aéred:'tvirh"g@vérery reckless disregard retire seth wh"éi§` it failed
to a:s'c`ertain';‘and ldiscloseith:'e true fac;tsin the sia.tements made by it to members of the investing
p`ublic, mclcd‘ng l.’laiiitiff`andthe Class”,i'and`the securities analysts `

w l lS. l""ri,s a result of the `fore'g'oing,` the';mark`et price of Petrobras-’s"ADS's-`was artificially
inflated dtir`iiigthe"Class APer'iod. l`n ignorance of the falsity of Petrobras’s statements concerning
` the Company’s financial statements andoperations,'plainti`ff and the"otlier roembei"s`oii` the Class
relie'd,‘to th'eii: damage',' on the statements described above and/or the integrity of the marketplace
of`Petrobras"s"i/~'\iDSs during the Class Period in purchasing Petrobras’s ADSs at prices which

were artificially inflated a`s a result of the D'efendant"s false aiid:mi"s:lea'dingl"stzitements"."§" "

_ 1316

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Company’s financial results and management to accurately present the Company’s financial
resuits. During this period, Petrobras continued to pump materially false and misleading
information into the marketplace regarding the financial condition of the Company. This
information Was promptly reviewed and analyzed by the ratings' agencies, analysts and
institutional investors and assimilated-into the price oftheiCornpany’s»‘14.DSS.v
108. As a-‘resu'lt of the misconduct alleged herein (including Defendant’s misstatements

4 and omissions of material ‘t`acts)§-the inarket“ for Peti‘obras’s'ADSs-Wa`s artificially inflated
Under such ci.rc`urns"rances1 the presumption of reliance available under the “fraud-o'n-the market”
theory appiies. '. Thus, Class members are presumed to have indirectly relied upon the
misrepresentations and omissions of material facts for Which Defendant is responsiblel

` - 109 Pl.nntiff and other Class members justifiably relied on theintegrity'of the market
price for tli<c‘(`ornpany’s AD.SS and were substantially damaged as 1a direct and proximate result
of their purchases of Petrobras’s ADSs at artificially inflated prices and the subsequent decline in
the price oli,'the'ial)$s'iv\fhen the truth Was intermittently disclosed `
c ' 1'110. The market for Pe'trobras’s 4inlsz promptly 'digest'ed' current information
regarding 'Petr`obras`from all publiciy"available sources.and reflectedsuch `infdriii'atio`n‘ in
ketrobras’s 14DSs piiee.' `l:}ndei' these 'eirciirristanees; all purchasers ref Petrobias’sAiijS's ddriiig
i;he“ clearA retired suffered greiner injury `1111`¢11§11‘ their `euretie§e 'er:"§tieie:e ei entertain aretirees
prices anda presumption of reliance applies
xii 1' '<':1’1111/1santaafterj..m -_

1 y

__ lAgainst Defendant) l

.Vi_o}_ation_ st Seetion_ IQ_(b) of the :Exchange Ac_t and Rule 10b-5 Promulgated Ther_eunder

lll., Pla_intiff repeats and rcalleges each and every allegation above as if fully set forth

35~

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1164. Petrobras’s concealment of this material information served only to harm Plaintiff
and the other members of the Class who purchased Petrobras’ s ADSs in ignorance cf the
financial risk to them as a result of such nondisclosures l

4 4114 141 1 _As-a result of the iifrongfnl conduct alleged herein, When the truth eolicerning
.Petrobras s false statements and omissions Was ievealed to the investing public and the)artificial
inflation in the pricelof Petrobras’ s ADSS Was, as a result, reduced and ultimately removed in a
series ot corrective disclosures and /or the materialiization of the concealed`risks 44l"etrob1as s
ADSs price fell significantiy and lPlaintiff andother members of the Class suffered damages in
an amount to be established at triai.

llS. By reason of the foregoing, Petrobras has violated Section lO(b) of the Exchange
Act and Rnle lOb~fS promulgated thereuru;ler,4 and` is liable to the Plaintiff and the other members
of'the`Ciii_ss-'for substantial damages that they suffered in connection With their purchase of
Petro4bra`4s’s '/kl')&is'di_iring the Class Period.`

Xn. marsh non`RnLIEF

 

44 WI'-'{EY'LEF'ORE, 4Pla.intiff prays for relief and judgment,' a's` follov'\is:'
4 A‘.` 4"` 'Determining that this action is`prop'erly maintainable esa cl`ass° notion pursuant to

Ruie 23'4ertae“1reae1-ei arises er C'ivii'i>reeeaei~'e"; ‘ '

B."' '. Certlfying`" Plai`ntiff as the “Class Rep"resen"tative”`and'4'4his co't.iiisel`i"a's`&'-‘Class '
Counsel”';`
c.` beeieaeg eea"aeieniraiieg tilanefe'eaeer"nerated the reaei~ei"eeeeiii“iee iew'e 1151

re`asdn“oftheir`co`nduet'a`salleged he'r`eiii:;" `4` " '4
` lD4.'4" ;`A\va"rdin"g monetary~"darnages against lf)<-:‘f`endant i`n' favor `of Plaintiff and'the other

rrienibers'ofthe4"Cla"ss4"fo1‘-'4all losses and damages suffered as a result of the acts and transactions

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complained of herein, together with prejudgment interest from the date of the wrongs to the date
of the judgment herein;

E;. Awarding Plaintiff_ and the`Class_ their reasonable.-costs..and exp@m$t_>$:incurred._i_n
this action, including counsel fees and expert fees; and

F._ Grantin~g,,; prejudgment interest .and such o'the_r;.and_ further relief as deemed
appropriate lay the ~C£ourt,- ," '-
XIII. - JURY TR-.IAL DE'MANDED.'-. _ _ .'

‘ Plainti-ft` hereby demands -a trial by jury in this action of all issues so triable

/Z?OE)ER LL »-

ester L. Levy

Robert C. Fink.el

_Chet_B. Waldman
4'Fe1`-`L"1`1 Qi"an " '4 ' `4

845 Third Avenue

New York, NY 10022

Tel: .(212) 759-46(_)0' ‘

F`a;>"<:` (_212)"486-209`3 " "

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fqian@Wolfpopper.com

Dated: Dece:nber § 2014

Attorneysfor Pl¢:zinlijjr .

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PLAINTIFF csarrsrcAr§foN
_ 111~11)_1111 ran renew ssCURIprss LAWs

I, Peter Kaltman, hereby state:
1. I have reviewed the attached complaint a§mst Petroleo Brasileiro S.A. ~
Petrobras (“Petrobras”) and have authorized the filing of the complaint on roy behalf

2- I arn Wil-iing to serve as a representative party on behalf 'of me Class, as
defined in the above referenced complaint including providing testimony at deposition and
trial, if necessary." ' jj `

3. The following includes all of my transactions in A`rnerican Depository
Receipts of Petrobras during the Class Period set forth in the Complaint are as follower-

Date Tyge Quanti§y _' " Price Per Share 1
1:. -

10/28/21')14 ramsey 1000 sii.sss

j 4. l did not purchase these securities at the direction of counsei, or in order to
participate in any private action arising under the federal securities laws.
51 During the-tliree~yaar period preceding the.'date of signing this certification
l have not sought to serve, and'have not setved, as a representative on behalf of a class in
any private action arising under the federal securities lawst '

6. l will not aceept'any payment for serving as arepresentative party on behalf
of the Class except to receive a pro rata share of any recovery, or as ordered 'or approved
by the Court, including the award to a representative ?party of reasonable costs and
expenses, including lost wages relating to the representation of the Class -

,7. l declare under penalty of peiju.ry that the foregoing is true and correctl

Executed this day of December, 2014

   
 

By: / ‘-““

l¢’-Peter_.`»I<§altrnan "

